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                                                                          FILED
                     UNITED STATES COURT OF APPEALS                        JUN 21 2021

                                                                       MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                       U.S. COURT OF APPEALS




  CALIFORNIA TRUCKING                           Nos. 20-55106; 20-55107
  ASSOCIATION; et al.,
                                                D.C. No.
               Plaintiffs-Appellees,            3:18-cv-02458-BEN-BLM
                                                Southern District of California,
   v.                                           San Diego

  ROBERT ANDRES BONTA, Esquire, in
  his official capacity as the Attorney         ORDER
  General of the State of California; et al.,

               Defendants-Appellants,

   and

  INTERNATIONAL BROTHERHOOD
  OF TEAMSTERS,

               Intervenor-Defendant.


 Before: IKUTA and BENNETT, Circuit Judges, and WOODLOCK,* District
 Judge.

         Appellees’ Petition for Rehearing En Banc (Dkt. 104) is DENIED. Judge

 Ikuta voted to deny the petition for rehearing en banc, and Judge Woodlock so

 recommended. Judge Bennett voted to grant the petition for rehearing en banc.



         *
               The Honorable Douglas P. Woodlock, United States District Judge for
 the District of Massachusetts, sitting by designation.
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 The petition for rehearing en banc was circulated to the judges of the court, and no

 judge requested a vote for en banc consideration.

       The petition for rehearing en banc is DENIED.




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